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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS



KATELYN HANKS,                                )
                                              )
                        Plaintiff,            )
                                              )       CIVIL ACTION
vs.                                           )
                                              )       FILE No.:
EAGLE-SPRING CREEK, L.P.,                     )
                                              )
                        Defendant.            )

                                            COMPLAINT

       COMES NOW, KATELYN HANKS, by and through the undersigned counsel, and files

this, her Complaint against Defendant, EAGLE-SPRING CREEK, L.P., pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

EAGLE-SPRING CREEK, L.P., failure to remove physical barriers to access and violations of

Title III of the ADA.

                                             PARTIES

       2.      Plaintiff KATELYN HANKS (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Dallas, Texas (Dallas County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.      Plaintiff uses a wheelchair for mobility purposes.

        6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Her motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.      Defendant, EAGLE-SPRING CREEK, L.P. (hereinafter “EAGLE-SPRING

CREEK, L.P.”) is a Texas limited partnership that transacts business in the State of Texas and

within this judicial district.

        8.      Defendant, EAGLE-SPRING CREEK, L.P., may be properly served with process

via its registered agent for service, to wit: c/o Lawrence E. Steinberg, Registered Agent, 5420

LBJ Freeway, Suite 570, Dallas, TX 75240.

                                  FACTUAL ALLEGATIONS

        9.      On or about November 19, 2020, Plaintiff was a customer at “Mooyah Burgers,

Fries & Shakes,” a business located at 6100 K Avenue, Plano, TX 75074, referenced herein as

“Mooyah Burgers”. See Receipt attached as Exhibit 1. See also photo of Plaintiff attached as

Exhibit 2.

        10.     Defendant, EAGLE-SPRING CREEK, L.P., is the owner or co-owner of the real



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property and improvements that Mooyah Burgers is situated upon and that is the subject of this

action, referenced herein as the “Property.”

       11.     Defendant, EAGLE-SPRING CREEK, L.P., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, EAGLE-SPRING CREEK, L.P., and a tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and the tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the restaurant located at 6100 K Avenue, Plano, TX 75074,

Collin County Property Appraiser’s property identification number 1716566 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of her

disabilities, and she will be denied and/or limited in the future unless and until Defendant is

compelled to remove the physical barriers to access and correct the ADA violations that exist at

the Property, including those set forth in this Complaint.

       13.     Plaintiff lives 12 miles from the Property.

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a



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return customer as well as for Advocacy Purposes, but does not intend to re-expose herself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.


                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and



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       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of


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$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       28.     Defendant, EAGLE-SPRING CREEK, L.P., has discriminated against Plaintiff

(and others with disabilities) by denying her access to, and full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, EAGLE-SPRING CREEK, L.P., will continue to discriminate against



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Plaintiff and others with disabilities unless and until Defendant, EAGLE-SPRING CREEK, L.P.,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     In front of Unit 120, the access aisle to the accessible parking space is not level

               due to the presence of an accessible ramp in the access aisle in violation of

               Section 502.4 of the 2010 ADAAG standards. This violation would make it

               dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

               the Property.

       (ii)    In front of Unit 120, the accessible curb ramp is improperly protruding into the

               access aisle of the accessible parking space in violation of Section 406.5 of the

               2010 ADAAG Standards. This violation would make it difficult and dangerous

               for Plaintiff to exit/enter their vehicle.

       (iii)   In front of Unit 120, the accessible parking space is not level due to the presence

               of accessible ramp side flares in the accessible parking space in violation of

               Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

               make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

               parked at the Property.



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   (iv)     In front of Unit 120, the ground surfaces of the accessible ramp have vertical rises

            in excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

            broken or unstable surfaces or otherwise fail to comply with Sections 302, 303

            and 405.4 of the 2010 ADAAG standards. This violation would make it

            dangerous and difficult for Plaintiff to access the units of the Property.

   (v)      In front of Unit 120, due to a failure to enact an adequate policy of maintenance,

            the sign identifying the accessible parking space is faded so as to render the sign

            not adequately visible in violation of section 502.6 of the 2010 ADAAG

            Standards.

   (vi)     In front of Unit 120, the accessible curb ramp side flare has a surface slope in

            excess of 1:10 in violation of section 406.3 of the 2010 ADAAG Standards. This

            violation would make it dangerous and difficult for Plaintiff to utilize this

            accessible ramp.

   (vii)    In front of Unit 116, the access aisle to the accessible parking space is not level

            due to the presence of an accessible ramp in the access aisle in violation of

            Section 502.4 of the 2010 ADAAG standards. This violation would make it

            dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

            the Property.

   (viii)   In front of Unit 116, the accessible curb ramp is improperly protruding into the

            access aisle of the accessible parking space in violation of Section 406.5 of the

            2010 ADAAG Standards. This violation would make it difficult and dangerous

            for Plaintiff to exit/enter their vehicle.




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   (ix)     In front of Unit 116, the accessible parking space is not level due to the presence

            of accessible ramp side flares in the accessible parking space in violation of

            Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

            make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

            parked at the Property.

   (x)      In front of Unit 116, the bottom edge of the sign identifying the accessible

            parking space has a height below 60 inches in violation of section 502.6 of the

            2010 ADAAG Standards. This violation would make it difficult to locate the sign

            as it would be blocked by a vehicle parked there.

   (xi)     Near Unit 108, there a vertical rise at the top of the accessible ramp that is in

            excess of a ¼ of an inch, in violation of Sections 303.2 and 405.4 of the 2010

            ADAAG standards. This violation would make it dangerous and difficult for

            Plaintiff to access public features of the Property at this location.

   (xii)    Near Unit 103, the Property has an accessible ramp leading from the accessible

            parking space to the accessible entrances with a slope exceeding 1:12 in violation

            of Section 405.2 of the 2010 ADAAG standards. This violation would make it

            dangerous and difficult for Plaintiff to access the units of the Property.

   (xiii)   The accessible ramp located near Unit 103 lacks a clear and level landing of at

            least 60 inches in length in violation of section 405.7 of the 2010 ADAAG

            Standards.

   (xiv)    The total number of accessible parking spaces is inadequate and is in violation of

            Section 208.2 of the 2010 ADAAG standards. There are 192 total parking spaces,

            but there are only four accessible parking spaces on the Property. Section 208.2



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               of the 2010 ADAAG Standards requires six accessible parking spaces. This

               violation would make it difficult for Plaintiff to locate an accessible parking

               space.

       (xv)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, EAGLE-

SPRING CREEK, L.P., has the financial resources to make the necessary modifications since the

Property is valued at $1,774,364.00, according to the Property Appraiser website.

       37.     The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit



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and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

          38.    Upon information and good faith belief, the Property have been altered since

2010.

          39.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

          40.    Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendant, EAGLE-SPRING CREEK, L.P., is required to remove the physical barriers,

dangerous conditions and ADA violations that exist at the Property, including those alleged

herein.

          41.    Plaintiff’s requested relief serves the public interest.

          42.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, EAGLE-SPRING CREEK, L.P.

          43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, EAGLE-SPRING CREEK, L.P., pursuant to 42 U.S.C. §§ 12188 and

12205.

          44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, EAGLE-

SPRING CREEK, L.P., to modify the Property to the extent required by the ADA.

          WHEREFORE, Plaintiff prays as follows:

          (a)    That the Court find Defendant, EAGLE-SPRING CREEK, L.P., in violation of



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          the ADA and ADAAG;

    (b)   That the Court issue a permanent injunction enjoining Defendant, EAGLE-

          SPRING CREEK, L.P., from continuing their discriminatory practices;

    (c)   That the Court issue an Order requiring Defendant, EAGLE-SPRING CREEK,

          L.P., to (i) remove the physical barriers to access and (ii) alter the subject

          Property to make it readily accessible to and useable by individuals with

          disabilities to the extent required by the ADA;

    (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

          and costs; and

    (e)   That the Court grant such further relief as deemed just and equitable in light of the

          circumstances.

    Dated: December 11, 2020.
                                        Respectfully submitted,

                                        Law Offices of
                                        THE SCHAPIRO LAW GROUP, P.L.

                                        /s/ Douglas S. Schapiro
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